Case 3:14-cv-06162-MAS-TJB Document1 Filed 10/03/14

TURNER LAW FIRM, LLC

BY: ANDREW R. TURNER, ESQ.

Page 1 of 19 PagelD: 1

76 South Orange Avenue - PO Box 526

South Orange,
973-763-5000
Attorneys for Plaintiff
ART 8574

New Jersey 07079

 

Plaintiff

UNITED STATES OF AMERICA FOR
THE USE AND BENEFIT OF
ATLANTIC PLUMBING SUPPLY

CORP., a New Jersey
corporation, and ATLANTIC
PLUMBING SUPPLY CORP.,
individually

vs.

Defendants

B&S SHEET METAL MECHANICAL
INC., RANCO CONSTRUCTION INC.,
and WESTERN SURETY COMPANY

 

 

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Case No.

Civil Action

COMPLAINT

Plaintiff Atlantic Plumbing Supply Corp., with its principal

place of business

located at 703 Joline Avenue,

Long Branch

(Monmouth County), New Jersey, by and through counsel, complaining

of the Defendants says:

NATURE OF ACTION

1. This is an action brought under the 40 U.S.C.

3131-3134

by an unpaid supplier for work it performed for the United States
Case 3:14-cv-06162-MAS-TJB Document1 Filed 10/03/14 Page 2 of 19 PagelD: 2

Department of Defense at McGuire Air Force Base/Fort Dix, New
Jersey, on a project known as the "Joint Bases Dormitory," contract
number W912DS-11-C-0011 ("Project" and "Contract" respectively) .
2. In addition to the monies due and owing Plaintiff on
account of the Project, Defendant B&S Sheet Metal Mechanical Inc.
("BES") owes Plaintiff contractual collection fees, interest, and
monies due on a book account with a total value of $95,300.40.
There is diversity of jurisdiction between Plaintiff and B&S on

this portion of the lawsuit.

PARTIES

3. Plaintiff is a New Jersey corporation with its principal
place of business located at 703 Joline Avenue, Long Branch
(Monmouth County), New Jersey. Plaintiff also maintains a place of
business at 543 Wrightstown-Sykesville Road, Wrightstown
(Burlington County), New Jersey.

4. Plaintiff is in the business, inter alia, of selling
plumbing supplies, equipment, and related materials to the trade
for use in construction and other projects.

5. Defendant B&S is a corporation organized and existing
under the laws of Pennsylvania, with a principal place of business
located at 608 Nolan Avenue, Morrisville (Bucks County),

-2-
Case 3:14-cv-06162-MAS-TJB Documenti1 Filed 10/03/14 Page 3 of 19 PagelD: 3

Pennsylvania. B&S has a registered office address of 2304 Maple
Avenue, Croydon (Bucks County), Pennsylvania.

6. B&S executed and delivered to Plaintiff a credit
application following which the parties conducted business over a
number of years including, but not limited to, the Project which
forms the principal portion of this lawsuit.

7. Defendant Ranco Construction Inc. ("Ranco") isa
corporation organized and existing under the laws of New Jersey,
with a principal place of business located at 2 Coleman Court,
Southampton (Burlington County), New Jersey.

8. Ranco is the general contractor on the Project and the
entity which obtained and is named as the principal in the
performance bond obtained pursuant to the Miller Act.

9. Defendant Western Surety Company ("Western"), witha
mailing address of PO Box 5077, Sioux Falls, South Dakota, is a
corporation in the business, inter alia, of issuing payment and
performance bonds.

10. Western issued its payment and performance bond number
58686530 ("Bond") on or about August 9, 2011 naming Ranco as the

principal for the Project.
Case 3:14-cv-06162-MAS-TJB Document1 Filed 10/03/14 Page 4 of 19 PagelD: 4

JURISDICTION & VENUE

 

11. Jurisdiction is mandated in the United States District
Court for an action such as this which is brought pursuant to the
terms of the Miller Act as set forth in 40 U.S.C. 3133 (b) (3).

12. Jurisdiction rests in the District of New Jersey because
the Project on which Plaintiff performed work is located at McGuire
Air Force Base/Fort Dix, Burlington County, New Jersey.

13. The book account claim asserted by Plaintiff against B&S
involves corporations of two different states, New Jersey and
Pennsylvania, with a principal claim sum of $95,300.40 (plus agreed
collection fees), and jurisdiction is founded on diversity of

citizens and amount in controversy under 28 U.S.C. 1332.

FIRST COUNT

14. Ranco was awarded the Contract for work on the Project
which was to be performed at McGuire Air Force Base/Fort Dix, New
Jersey. The Contract was awarded by the United States Department
of Defense.

15. Pursuant to applicable federal law, Ranco obtained the
Bond for the contract it was awarded.

16. At all relevant times, Ranco engaged B&S as one of its
sub-contractors to work on the Project.

-4-
Case 3:14-cv-06162-MAS-TJB Documenti1 Filed 10/03/14 Page 5 of 19 PagelD: 5

17. Plaintiff and B&S have been conducting business for a
period of years pursuant to an executed credit application
delivered by B&S to the Plaintiff. In connection with the business
conducted by and between Plaintiff and B&S, B&S purchased goods,
services, and materials from the Plaintiff for use on the Project.

18. B&S purchased goods, services, and materials from the
Plaintiff pursuant to the credit application executed and delivered
by B&S to the Plaintiff on or about August 31, 2005. A true and
correct copy of the credit application is annexed as Exhibit A.

19. As part of the ongoing business relationship between
Plaintiff and B&S, B&S purchased goods, services, and materials
from the Plaintiff on an open account basis.

20. The purchases by B&S from the Plaintiff at issue in
this lawsuit occurred between June 12 and October 4, 2013 as shown
on Plaintiff's statement of account annexed as Exhibit B-1 through
B-5.

21. The last date Plaintiff provided goods, services, and
materials to the Project was October 4, 2013.

22. Plaintiff is owed the sum of $78,490.47 for goods,
services, and materials sold and delivered in connection with the

Project.
Case 3:14-cv-06162-MAS-TJB Documenti1 Filed 10/03/14 Page 6 of 19 PagelD: 6

23. The goods, services, and materials include items
specifically picked up by B&S at Plaintiff's business location(s)
together with materials which were delivered to the Project site by
the Plaintiff in accordance with orders placed by B&S. In
addition, items were delivered to B&S's business location with
specific identification for the Project.

24. Contrary to the agreement between Plaintiff and B&S, B&S
has failed, refused, and neglected to pay the balance due for
goods, services, and materials supplied by the Plaintiff for the
Project.

25. Plaintiff has provided to B&S its invoices and statements
of work performed, services rendered, and/or goods supplied for use
on the Project.

26. Upon information and belief, B&S provided to Ranco, as
the general contractor, a statement of the goods, services, and
materials delivered by the Plaintiff to the Project site.

27. Upon further information and belief, Ranco has provided
a list of services rendered by its sub-contractors and requests for
payment to the government for goods supplied and delivered,
services rendered, and materials used at the Project, including

those sold and delivered by Plaintiff.
Case 3:14-cv-06162-MAS-TJB Document1 Filed 10/03/14 Page 7 of 19 PagelD: 7

28. Pursuant to general business terms, suppliers are to be
paid promptly. This provision is also in accordance with the
requirements of the Prompt Payment Act which is codified at 31
U.S.C. 3901, et. seg.

29. Pursuant to the Prompt Payment Act, an interest penalty
must be paid to the sub-contractors or supplier for payment not
made in accordance with its term. Plaintiff specifically reserves
the right to seek an award of interest at the time judgment is
entered.

30. The principal sum due for goods sold and delivered on
account of the Project is $78,490.47.

31. The last date upon which work was performed by Plaintiff
at the Project was October 4, 2013.

WHEREFORE, Plaintiff demands judgment against Defendants
B&S and Ranco, jointly and individually, for the sum of $78,490.47,
plus interest, costs of suit, attorney's fees, and such other

relief as the Court deems fair, just, and equitable.

SECOND COUNT
32. Plaintiff repeats the allegations contained in the

preceding paragraphs as although set forth herein at length.
Case 3:14-cv-06162-MAS-TJB Documenti1 Filed 10/03/14 Page 8 of 19 PagelD: 8

33. Ranco was awarded the Contract for the subject Project in
this lawsuit.

34. In compliance with applicable provisions of the United
States Code, Defendant Western issued the Bond for the Contract
awarded to Ranco, and for work to be performed at the Project site.

35. Western issued the Bond on August 9, 2011 for the
Project.

36. There is presently due and owing to the Plaintiff the sum
of $78,490.47 for work performed, goods supplied, and/or services
rendered by it on account of the Project.

37. This lawsuit is being instituted within one year of the
last date the goods were supplied, materials delivered, and/or
services rendered by the Plaintiff for the Project.

38. Pursuant to the Bond it issued, Western is liable for
payment to Plaintiff.

39. Plaintiff is entitled to interest on its claim since it
has not been promptly paid, and specifically reserves the right to
calculate interest at the time judgment is entered.

40. Prior to filing the within lawsuit Plaintiff attempted to
resolve this matter with Western by initially serving its notice of
intention to file a claim pursuant to the Miller Act. Western
responded to Plaintiff's initial inquiry by and through its

-8-
Case 3:14-cv-06162-MAS-TJB Documenti1 Filed 10/03/14 Page 9 of 19 PagelD: 9

authorized agent CNA Surety. Although Plaintiff and CNA Surety
exchanged additional correspondence they were unable to resolve the
dispute or achieve payment which led to the filing of the within
lawsuit.

WHEREFORE, Plaintiff demands judgment against Defendants
B&S, Ranco, and Western, jointly and individually, on this count in
the sum of $78,490.47, plus interest and costs, together with such

other relief as the Court deems fair, just, and equitable.

THIRD COUNT

41. Plaintiff repeats the allegations contained in the
preceding paragraphs as although set forth herein at length.

42. Plaintiff sues B&S on this count for the total sum of
$95,300.40 pursuant to a book account and in accordance with the
written agreement between these two parties.

43. The amount due is set forth on the summary of invoices
reflecting goods sold and delivered by the Plaintiff to B&S, on an
open account basis, in the total amount of $95,300.40 as shown on
Exhibit B-1 through B-5.

44, The goods and materials were sold and delivered as
ordered by B&S from Plaintiff in accordance with an open account
which was established when B&S executed and delivered a credit

~9-
Case 3:14-cv-06162-MAS-TJB Document 1 Filed 10/03/14 Page 10 of 19 PagelD: 10

application to the Plaintiff. A true copy of the executed credit
application is annexed as Exhibit A.

45. Pursuant to the plain terms of the written agreement
between Plaintiff and B&S, B&S is subject to a service charge for
unpaid balances which are past due. In addition, B&S specifically
agreed to pay a twenty-five (25%) percent collection charge in the
event of default or if the account is placed with an attorney or
bonded collection agency.

46. The said twenty-five percent of the balance of $95,300.40
is $23,825.10, for which amount judgment is also claimed.

47. As shown on the annexed Exhibit B-1 through B-5, the
principal sum due from B&S to Plaintiff is comprised of the
$78,490.47 of goods and materials sold and delivered on account of
the Project, together with an additional open account balance of
$9,102.99 for goods sold and materials delivered on jobs unrelated
to the Project in the instant lawsuit.

48. Pursuant to the written agreement between Plaintiff and
B&S service/interest charges have been added, together with the
agreed collection fee.

49. The collection fee has not been added and is not

applicable to Defendants Ranco and Western.

-10-
Case 3:14-cv-06162-MAS-TJB Document1 Filed 10/03/14 Page 11 of 19 PagelD: 11

50. The balance due on this count from B&S to the Plaintiff
totals $119,125.50. This amount exceeds the jurisdictional
threshold for claims for citizens of different states, and
diversity jurisdiction exists for the United States District Court
to adjudicate this claim.

WHEREFORE, Plaintiff demands judgment against Defendant
B&S, alone, on this count for the principal sum of $95,300.40, plus
agreed collection fees of $23,825.10, for a total of $119,125.50.
WHEREFORE, Plaintiff demands judgment against all
Defendants as follows:
(a) jointly and individually against
Defendants B&S, Ranco, and Western
on Counts One and Two for the sum of
$78,490.47, plus interest, costs,
attorney's fees, and such other
relief as the Court deems fair,
just, and equitable; and,
(b) against Defendant B&S on Count Three

for the total amount of $119,125.50.

TURNER LAW FIRM, LLC
Attorneys for Plaintiff

  

BY: a

ANDREW R. TURNER

 

Dated: October 3, 2014

-11-
Case 3:14-cv-06162-MAS-TJB Document1 Filed 10/03/14 Page 12 of 19 PagelD: 12

EXHIBIT A
Case 3:14-cv-06162-MAS-TJB Document1 Filed 10/03/14 Page 13 of 19 PagelD: 13

 

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TEL.: (742) 229-0334 + FAX: (787) 229-7900 TEL. {608 724-0096 + FAX (609) 724-00%

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SIGNED .. TITLE

PERSONAL GUARANTEE
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Case 3:14-cv-06162-MAS-TJB Document 1 Filed 10/03/14 Page 14 of 19 PagelD: 14

EXHIBIT B
Case 3:14-cv-06162-MAS-TJB Document1 Filed 10/03/14 Page 15 of 19 PagelD: 15

ATLANTIC PLUMBING SUPPLY CORP,
543 WRIGHTSTOWN-SYKESVILLE ROAD
-WRIGHTSTOWN NJ 08562

609-724-0095 Fax 609-724-0091

 

 

 
    

CUSTOMER

B&S SHEET METAL MECHANICAL INC.
608 NOLAN AVE
MORRISVILLE,

 

 

  

 

PA 19067

 

 

 
 

 

Statement

REMIT TO:

ATLANTIC PLUMBING SUPPLY CORPO

PO BOX 627
Long Branch NJ O7740
732° 229-0334

21/30/23

  
   
 

 

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06/18/13152229839.002 DORM 273.36
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06/19/13 |62229839,.002 DORM 56.17
06/19/13182230977.001 DORM 197,48
06/19/13]92231446.001 ENGELWOOD ELEM 345.45
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06/20/13152231390.001 DORMATORY 167.31
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07/01/13) 82235403 .001 DORM 14.40
07/02/13! 82237100.001 DORM 227.63
07/04/13] S2237970.001 DORM 109.07
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07/09/13) S2067416.017 1105-0008 DORMS 166.49
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EXHIBIT B-1

 

 
 

 

 

 

Case

3:14-cv-06162-MAS-TJB Document 1 Filed 10/03/14

ATLANTIC PLUMBING SUPPLY CORP.
543 WRIGHTSTOWN-SYKESVILLE ROAD
WRIGHTSTOWN NJ 08562

609-724-0095 Fax 609-724-0091

  

CUSTOMER

B&S SREET METAL MECHANICAL INC.

608 NOLAN AVE

MORRISVILLE, PA 19067

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07/16/13|S2242663.,001 DORMS 112.26
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07/23/13] 82067416 .023 1105-0008 DORMS 645.55
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07/24/13) $2232622:002 1105-0038 300.00
07/24/13|S2242691.003 |DORMS BARBS 7.69
07/24/13/S2245674.001 |Pvc TRAPS 251.94
07/24/13152246290.001 {DORM 224.23
07/24/13| 82246295 .001 PK -136.36
07/26/13|S52067416.024 1105-0008 DORMS 3,938.65
07/26/13}52232622.003 |1105-0038 3,359.66
07/26/131}52247016.001 |DORMS 32.34
07/26/13|82247037.001 |DORMS 16.22
07/26/13)S2247387.001 {DORM 53.17
07/30/13|82067416.025 1105-0008 DORMS 1,275.75

Statement

REMIT TO:
ATLANTIC PLUMBING SUPPLY CORPO
PO BOX 627
Lang Branch Nd 07740
752-229-0334

 

 

 

 

 

 

 

 

 

Page 16 of 19 PagelD: 16

 

 

 

 

 

 

EXHIBIT B-2

 

 
 

 

Case

3:14-cv-06162-MAS-TJB Document 1 Filed 10/03/14

ATLANTIC PLUMBING SUPPLY CORP.
543 WRIGHTSTOWN-SYKESVILLE ROAD
WRIGHTSTOWN NJ 08562 .
609-724-0095 Fax 609-724-0091

 

  

CUSTOMER

B&éS SHEET METAL MECHANICAL INC,

608 NOLAN AVE

MORRISVILLE, PA 19067
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07/31/13] 82249749.001 Serv Chrg 1,560.12
08/01/13]82248602.001 DORMS 129.36
08/01/13! 82248813,001 DORM 37.22
08/01/13|82249226.001 INGLEWOOD SCHOOL 930,85
08/01/13| $2249226.002 INGLEWOOD SCHOOL -404,09
08/01/13) 82249839.001 DWAYNE 562,29
08/01/13|62250012.001 DORM 31,04
08/01/13! S2250136.001 BLDG 541 6.64
08/01/13/82250386.001 DORM 89,62
08/05/13) 82067416.026 1105-0608 DORMS 1,011.87
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08/05/13/82251445.001 DORMATORY 25.90
08/06/13] $2252104.001 9.05
08/08/13] 82067416 .027 1105-0008 DORMS 4,022.33
08/09/13} S2247387.002 DORM 36.00
08/09/13/S2247448.001 |DORM 32.21
08/12/131 82067416 .028 1105-0008 DORMS 89.38
08/12/13152254235.001 DORMS 341.89
08/13/13|S2067416.029 1105-0008 DORMS 8,085.13
08/13/13/S2067416.030 1105-0008 DORMS 175.12
08/13/13} 52254235.002 DORMS 10.40
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Statement

REMIT TOs
ATLANTIC PLUMBING SUPPLY coRPO
PO BOX 627
Long Branch Nu 07740
732-229-0334

 

 

 

Page 17 of 19 PagelD: 17

 

 

 

 

 

 

EXHIBIT B-3

 

 
Case 3:14-cv-06162-MAS-TJB Document1 Filed 10/03/14 Page 18 of 19 PagelD: 18

ATLANTIC PLUMBING SUPPLY CORP. Statement

543 WRIGHTSTOWN-SYKESVILLE ROAD

WRIGHTSTOWN NJ 08562 REMIT TO:

609-724-0095 Fax 609-724-0091 ATLANTIC PLUMBING SUPPLY CORPO
PO BOX 627

Long Branch NJ 07740
732-229-0334

CUSTOMER 11/30/13
B&S SHEET METAL MECHANICAL INC,
608 NOLAN AVE .
MORRISVILLE, PA 139067

 

  
 

 

   

 

 

 

 

 

 

 

 

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08/21/13} 82257645.001 120 DORMS 7.98
08/21/13! $2258087.001 NCO 7,72
08/21/13] S2258500.001 456 26.76
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08/22/13|S52259084.001 ‘|DORM 31.52
08/23/13! 82259185 .001 120 DORM 303.31
08/26/13) $2259548.001 1105-0038 60.80
08/26/13! $2253548.002 1105-0038 70.75
08/26/13|S$2259910.001 120 DORM 346.24
08/26/13|82260125.9001 100 MAN DORM 14,41
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08/30/13] $2261995.001 124 DORM 445.60
08/321/13}S$2262529.001 Serv Chrg 1,700.38
09/03/13|$2067416.036 1105-0008 DORMS 496.99
09/05/13|92263955.001 DORM 56.69
09/19/131S$2269215,001 BILL 76.93
09/19/131$2269430.001 NORM DORM 148.00
09/20/13] $2270199.001 DORM 223.41
03/23/13182067416.037 1105-0008 DORMS 793.14
09/23/13}S52103912.003 1105-0026 1,913.34
09/23/13|52271099.001 5516 FT DIX 5.48

 

 

 

 

 

 

 

 

EXHIBIT B-4

 

 
Case 3:14-cv-06162-MAS-TJB Document1 Filed 10/03/14 Page 19 of 19 PagelD: 19

ATLANTIC PLUMBING SUPPLY CORP. Statement
543 WRIGHTSTOWN-SYKESVILLE ROAD
WRIGHTSTOWN NJ 08562 REMIT 10:
609-724-0095 Fax 609-724-0091 ATLANTIC PLUMBING SUPPLY CORPO
PO BOX 627
Long Branch Nd 07740
732-229-0334

11/30/13

CUSTOMER
B&S SHEET METAL MECHANICAL INC.

608 NOLAN AVE
MORRISVILLE,

 

PA 19067

 
     

 

 

 

 

09/23/13
09/24/13
09/24/13
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09/25/13
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10/02/13
10/03/13
10/04/13
10/04/13
10/31/13
21/30/13

or allow

 

 

products

 

No-Lead Law Compliance:

containing lead,

$2271148.
S$2271148.,
S2271754.
82271780.
62272067,001
$2264171.001
$2272411,001
S$2272416.001
$2272644,001
$2273224,001
82273226 .001
$2273263.001
82273694,001
82274909.002
S2275898.001
S2276171.001
$2275855.001
82276989 .001
$2289115.001
$2301335,.001

002
002
O01

returns of prog
We are

 

 

 

DORM/NORM
DORM/NORM

1 PROSPECT

DORM

1 PROSPECT AVE
1105-0044

DORM

DORM

DORM

DORM

DORM

1208-0006
888-848

Serv Chrgq
CONDENSATE PUMP
BALICAN WOODS

DORM
Serv Chrg

| Serv Chrg

Manufacturers will
Hucts used for potable water

1,722.91

no longer make

unable to accept returns for such

 

 

 

29.78
139,01
10.82
200.41
1,830.71
371.45
-136.36
a2z2.15
192.44
~136.36
935.72
159.10
1,561.01
353.65
70.64

33.86
1,713.68
1,722.91

 

 

93,577.49) 0.

1,722,91

 

95,300,490

 

 

2,175.34

 

 

8,921.80

 

31,058.35

 

 

51,422.03

 

2,722,914

All past due balances subject to SERVICE CHARGES of 2% per month.

EXHIBIT B-5

 
